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AMICI CURIAE For Defendant OSCAR RODRIGUEZ

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA CASE NUMBER:

CR 05-01111(A)-RGK
PLAINTIFF(S)

OSCAR RODRIGUEZ

NOTICE OF MANUAL FILING
DEFENDANT(S).

PLEASE TAKE NOTICE:
The above-mentioned cause of action has been designated as an electronically filed case. In accordance
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List Documents:

(1) Motion for Leave to F ile Sentencing Position Paper As Amici Curiae;(2) [Proposed] Order on Motion;
(3)Ex-parte App. To File Sent. Position Paper Under Seal;(4)[Proposed] Order to File Under Seal;
(4)Sent. Position Paper By Ellen Barry and Matthew Lombard As Amici Curiae in Connection with Def'sSent.

Document Description:

C Administrative Record

4 Exhibits
Oo Ex Parte Application for authorization of investigative, expert or other services pursuant to the
Criminal Justice Act (pursuant to Local Rule 79-5 Ath)
wi Other
Reason:
wf Under Seal
O Items not conducive to e-filing (i.c., videotapes, CDROM, large graphic charts)
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July 25, 2007 MATTHEW J, LOMBARD, (SBN:239910)
Date Attorney Name
OSCAR RODRIGUEZ
Party Represented

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G-92 (02/07) NOTICE OF MANUAL FILING

